                    Case 22-41113            Doc 1       Filed 08/31/22 Entered 08/31/22 09:10:21                              Desc Main
                                                           Document     Page 1 of 12

Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF TEXAS

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Wall 009, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  3926 Vista Woods Drive.
                                  Carrollton, TX 75007
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Denton                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                    Case 22-41113                Doc 1        Filed 08/31/22 Entered 08/31/22 09:10:21                                   Desc Main
                                                                Document     Page 2 of 12
Debtor    Wall 009, LLC                                                                                 Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                              operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                                exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a                          Northern District of
     separate list.                               District   Texas                         When      12/07/21                    Case number   21-32191
                                                  District                                 When                                  Case number




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
                    Case 22-41113                   Doc 1         Filed 08/31/22 Entered 08/31/22 09:10:21                                Desc Main
                                                                    Document     Page 3 of 12
Debtor    Wall 009, LLC                                                                                   Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor      WALL007,LLC                                                   Relationship               Affiliate
                                                                 Eastern District of
                                                     District    Texas                        When      8/19/22                Case number, if known      22-41049


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion



Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                    Case 22-41113    Doc 1        Filed 08/31/22 Entered 08/31/22 09:10:21                      Desc Main
                                                    Document     Page 4 of 12
Debtor   Wall 009, LLC                                                               Case number (if known)
         Name


16. Estimated liabilities     $0 - $50,000                               $1,000,001 - $10 million             $500,000,001 - $1 billion
                              $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                              $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                              $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
                    Case 22-41113            Doc 1       Filed 08/31/22 Entered 08/31/22 09:10:21                                Desc Main
                                                           Document     Page 5 of 12
Debtor    Wall 009, LLC                                                                            Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      August 30, 2022
                                                  MM / DD / YYYY


                             X   /s/ Tim Barton                                                           Tim Barton
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President of Managing Member




18. Signature of attorney    X   /s/ Eric A. Liepins                                                       Date August 30, 2022
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Eric A. Liepins
                                 Printed name

                                 Eric A. Liepins
                                 Firm name

                                 12770 Coit Road
                                 Suite 850
                                 Dallas, TX 75251
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     972-991-5591                  Email address      eric@ealpc.com

                                 12338110 TX
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
                    Case 22-41113            Doc 1        Filed 08/31/22 Entered 08/31/22 09:10:21                                        Desc Main
                                                            Document     Page 6 of 12

 Fill in this information to identify the case:
 Debtor name Wall 009, LLC
 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS                                                                           Check if this is an

 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Gong Xue Geng                                                                                                                                                 $100,000.00
 Rm 1801, Building
 C, Shengshijiayuan,
 No
 Chaoyang District,
 Beijing, China
 Gong Xuegeng                                                                                                                                                  $100,015.00
 Rm 1801, Building
 C, Shengshijiayuan,
 No
 , Chaoyang District,
 Beijing, China
 Guan Pei                                                                                                                                                      $100,000.00
 #6101 Building 1,
 No.36 Zengguang
 Road
 Beijing, China.
 Jiang Chenchen                                                                                                                                                $100,030.00
 3395 Michelson Dr.
 Apt. 4460,
 Irvine, CA 92612
 Jie Zou                                                                                                                                                         $99,975.00
 Room1601,Building
 7,Phase II
 Yanlord Jiangwan
 City,No199 Leshan
 R
 Jianye
 District,Nanjing,Chi
 n
 Jin Wang                                                                                                                                                      $152,000.00
 Room 2-202,
 Builidng No.4,
 Huanxixincun,
 HangzhoU




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
                    Case 22-41113            Doc 1        Filed 08/31/22 Entered 08/31/22 09:10:21                                        Desc Main
                                                            Document     Page 7 of 12


 Debtor    Wall 009, LLC                                                                             Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Li Qiuying                                                                                                                                                      $49,983.00
 Room 703, No.101
 Xidajie,
 Xuanwumen,
 Xicheng Distric
 Beijing, China
 Li Ruiling                                                                                                                                                      $49,888.00
 Care of Heng Zhan:
 Rm 503 Building 10
 Yichengmingyuan
 Daxing District,
 Beijing 100176
 Li Xiaoqin                                                                                                                                                      $49,963.00
 Care of: Hong Guo.
 Room 6-902
 No.500 Gubei
 Central Garden
 South Yili Rd.
 Changning District
 Li Xin                                                                                                                                                          $49,982.50
 Care of : Quiying Li.
 Room 703
 No.101 Xidajie,
 Xuanwumen
 Xicheng District,
 Beijing, Chin
 Ling Guan                                                                                                                                                     $100,030.00
 Room 39-101,
 Yuehaihaoting,
 No.458, Xian
 Laoshan District,
 Shandong, Chin
 Luobin                                                                                                                                                          $49,966.00
 Care of Hong Guo
 Room 6-902, No.50
 Gubei Central
 Garden, South Yili
 Rd
 Changning District,
 Shanghai, Chin
 Mai Ye                                                                                                                                                        $100,000.00
 Tower 31B, Taizi
 Yuan, Hupan
 Garden, Wen
 China Yemai00247
 Ms Deng Min                                                                                                                                                   $200,030.00
 Room3-1102,
 JinDing Yuan Renhe
 Ge, No. 4
 Moganshan Rd.
 Hanghzou



Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
                    Case 22-41113            Doc 1        Filed 08/31/22 Entered 08/31/22 09:10:21                                        Desc Main
                                                            Document     Page 8 of 12


 Debtor    Wall 009, LLC                                                                             Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Weijia Kong                                                                                                                                                   $150,010.00
 Room 615, Building
 No.28, West Area
 Xicheng District,
 Beijing, Chin
 Wu Ruinian                                                                                                                                                    $100,030.00
 5-2-401, Xisihuan,
 MeiliyuanBeijing,
 China
 Wu Ruinian                                                                                                                                                    $100,030.00
 5-2-401, Xisihuan
 MeiliyuanBeijing,
 China
 Wu Yijing                                                                                                                                                     $300,000.00
 4-4-1403,
 Huafangyicheng.
 No. 29 Qingnia
 Chaoyang. Dist.
 Beijing Chin
 Wu Yijing                                                                                                                                                     $100,000.00
 4-4-1403,
 Huafangyicheng.
 No. 29 Qingnia
 Chaoyang. Dist.
 Beijing Chin
 Xu Yue                                                                                                                                                        $100,015.00
 Rm 1801, Building
 C, Shengshijiayuan,
 No
 , Chaoyang District,
 Beijing, China




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3
    Case 22-41113   Doc 1   Filed 08/31/22 Entered 08/31/22 09:10:21   Desc Main
                              Document     Page 9 of 12


}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




                      Cai Xue Zhen
                      Room 1003, Unit2, Building 29
                       Yaojiang WendingyuanXihuDistrict
                       Hangzhou, China

                      Chen Qu
                      Care of: Heng Zhang. Rm 503
                      Building 10 Yichengmingyuan BDA
                      Daxing District Beijing

                      Gong Xue Geng
                      Rm 1801, Building C, Shengshijiayuan, No
                      Chaoyang District, Beijing, China

                      Gong Xuegeng
                      Rm 1801, Building C, Shengshijiayuan, No
                      , Chaoyang District, Beijing, China

                      Guan Pei
                      #6101 Building 1, No.36 Zengguang Road
                      Beijing, China.

                      Guo Hong
                      Room 6-902 No.500 Gubei Central Garden
                      South Yili Rd. Changning District
                      Shangha China

                      HR Sterling
                      2736 Trophy Club Drive
                      Roanoke, TX 76262

                      Jiang Chenchen
                      3395 Michelson Dr. Apt. 4460,
                      Irvine, CA 92612

                      Jie Zou
                      Room1601,Building7,Phase II
                      Yanlord Jiangwan City,No199 Leshan R
                      Jianye District,Nanjing,Chin

                      Jin Wang
                      Room 2-202 Builidng No.4
                      Huanxixincun Hangzhou

                      Larry Martin
                      3069 Waterside Circle
                      Boynton Beach, FL 33435

                      Larry Marting
                      3069 Waterside Circle
                      Boynton Beach, FL 33435
Case 22-41113   Doc 1   Filed 08/31/22 Entered 08/31/22 09:10:21   Desc Main
                         Document     Page 10 of 12



                  Li Qiuying
                  Room 703, No.101 Xidajie,
                   Xuanwumen, Xicheng Distric
                   Beijing, China

                  Li Ruiling
                  Care of Heng Zhan:
                  Rm 503 Building 10 Yichengmingyuan
                   Daxing District, Beijing 100176

                  Li Xiaoqin
                  Care of: Hong Guo. Room 6-902
                  No.500 Gubei Central Garden
                  South Yili Rd. Changning District

                  Li Xin
                  Care of : Quiying Li. Room 703
                  No.101 Xidajie, Xuanwumen
                  Xicheng District, Beijing, Chin
                  Lin Zhou
                  Room 1-406 No.1058
                  Lianhua Road
                  Shanghai China

                  Ling Guan
                  Room 39-101, Yuehaihaoting, No.458, Xian
                  Laoshan District, Shandong, Chin

                  Luobin
                  Care of Hong Guo Room 6-902, No.50
                   Gubei Central Garden, South Yili Rd
                  Changning District, Shanghai, Chin

                  Mai Ye
                  Tower 31B, Taizi Yuan, Hupan Garden, Wen
                  China Yemai00247
                  Ms Deng Min
                  Room3-1102, JinDing Yuan Renhe Ge, No. 4
                   Moganshan Rd. Hanghzou

                  Steve Metzger
                  3626 N Hall Street
                  Suite 800
                  Dallas, TX 75219

                  Vance McMurray
                  508 W. Lookout Drive
                  Ste. 17-74
                  Richardson, TX 75080
Case 22-41113   Doc 1   Filed 08/31/22 Entered 08/31/22 09:10:21   Desc Main
                         Document     Page 11 of 12



                  Vance McMurry
                  508 Lookout Drive
                  Suite 14-74
                  Richardson, TX 75080

                  Weijia Kong
                  Room 615, Building No.28, West Area
                  Xicheng District, Beijing, Chin

                  Wu Dan
                  Room901 Building 1
                  Fangshanyuan Yijingyuan Wener Rd
                  Xihu District, Hangzhou, China

                  Wu Ruinian
                  5-2-401, Xisihuan,
                   MeiliyuanBeijing, China

                  Wu Yijing
                  4-4-1403, Huafangyicheng. No. 29 Qingnia
                  Chaoyang. Dist. Beijing Chin

                  Xu Yue
                  Rm 1801, Building C, Shengshijiayuan, No
                  , Chaoyang District, Beijing, China

                  Zhang Heng
                  Rm 503 Building 10
                  Yichengmingyuan BDA
                  Daxing District

                  Zhou Lin
                  Room 1-406 No.1058
                  Lianhua Road
                  Shanghai?China
           Case 22-41113         Doc 1     Filed 08/31/22 Entered 08/31/22 09:10:21                   Desc Main
                                            Document     Page 12 of 12



                                         United States Bankruptcy Court
                                                 Eastern District of Texas
 In re   Wall 009, LLC                                                                Case No.
                                                              Debtor(s)               Chapter    11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Wall 009, LLC in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of
the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
Carnegie Development, LLC
13636 Goldmark
Dallas, TX 75240




  None [Check if applicable]




August 30, 2022                                 /s/ Eric A. Liepins
Date                                            Eric A. Liepins
                                                Signature of Attorney or Litigant
                                                Counsel for Wall 009, LLC
                                                Eric A. Liepins
                                                12770 Coit Road
                                                Suite 850
                                                Dallas, TX 75251
                                                972-991-5591 Fax:972-991-5788
                                                eric@ealpc.com
